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      1                UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
      2                      EASTERN DIVISION
      3
              IN RE: NATIONAL                 )
      4       PRESCRIPTION                    )   MDL No. 2804
              OPIATE LITIGATION               )
      5       _____________________           )   Case No.
                                              )   1:17-MD-2804
      6                                       )
              THIS DOCUMENT RELATES           )   Hon. Dan A.
      7       TO ALL CASES                    )   Polster
      8
                            THURSDAY, APRIL 4, 2019
      9
              HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
     10                CONFIDENTIALITY REVIEW
     11                         – – –
     12               Videotaped deposition of Mark
     13     Geraci, held at the offices of DECHERT LLP,
     14     1095 Sixth Avenue, New York, New York,
     15     commencing at 9:10 a.m., on the above date,
     16     before Carrie A. Campbell, Registered
     17     Diplomate Reporter and Certified Realtime
     18     Reporter.
     19
     20
     21                                 – – –
     22
                        GOLKOW LITIGATION SERVICES
     23              877.370.3377 ph | 917.591.5672 fax
                              deps@golkow.com
     24
     25

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                                                                             Review

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                  HENRY MARTE,
     18           Golkow Litigation Services
     19
                                        – – –
     20
     21
     22
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      5    Geraci 11         to Rules 30(B)(6) and Document
                             Request Pursuant to Rule
      6                      30(B)(2) and Rule 34 to Purdue
                             Pharma, L.P., Purdue Pharma,
      7                      Inc., and the Purdue Frederick
                             Company
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      1                       VIDEOGRAPHER:        Okay.     We are
      2              now on the record.         My name is Henry
      3              Marte.     I'm a videographer with Golkow
      4              Litigation Services.
      5                       Today's date is April 4, 2019,
      6              and the time is 9:10 a.m.
      7                       This videotaped deposition is
      8              being held at 1095 Avenue of the
      9              Americas, New York, New York, in the
     10              matter of National Prescription Opiate
     11              Litigation.
     12                       The deponent today is Mark
     13              Geraci.
     14                       All appearances please
     15              introduce themselves for the record.
     16                       MS. CONROY:       Jayne Conroy for
     17              plaintiffs.
     18                       MS. HURD:       Ellyn Hurd for
     19              plaintiffs.
     20                       MS. CONROY:       Mildred Conroy,
     21              Lanier Law Firm, for the plaintiffs.
     22                       MR. HOFFMAN:        Nathan Hoffman on
     23              behalf of the Purdue defendants and
     24              the witness.
     25                       MR. LAFATA:       Paul LaFata from

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      1              Dechert for the Purdue defendants
      2              also.
      3                       MS. MARTIN:       Dana Martin from
      4              Dechert for the Purdue defendants
      5              also.
      6                       MS. SHARMA:       Shailee Diwanji
      7              Sharma, Covington & Burling, for
      8              McKesson.
      9                       VIDEOGRAPHER:        And those on the
     10              phone, please?
     11                       MR. ANDERSON:        Jon Anderson,
     12              Jackson Kelly, on behalf of
     13              AmerisourceBergen.
     14                       MR. McCAULEY:        John McCauley
     15              for Abbott.
     16                       VIDEOGRAPHER:        Anyone else?
     17                       Okay.     Will the court reporter
     18              please administer the oath to the
     19              witness.
     20

     21                           MARK GERACI,
     22     of lawful age, having been first duly sworn
     23     to tell the truth, the whole truth and
     24     nothing but the truth, deposes and says on
     25     behalf of the Plaintiffs, as follows:

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      1                       DIRECT EXAMINATION
      2     QUESTIONS BY MS. CONROY:
      3              Q.       Good morning, Mr. Geraci.
      4              A.       Ms. Conroy.
      5              Q.       Have you ever had your
      6     deposition taken before?
      7              A.       No.
      8              Q.       Was that a no?
      9              A.       No.
     10              Q.       Okay.     A couple of ground
     11     rules.     We have a court reporter, which you
     12     saw her magic machine a moment ago, and so
     13     she's going to take down what I say; she's
     14     going to take down what you say.               It's hard
     15     if we talk at the same time, so try to wait
     16     for the end of my question, and I'll try not
     17     to start a question during your answer.
     18                       Okay?
     19              A.       Fine.
     20              Q.       If you want to take a break at
     21     any point, just let me know.              I would prefer
     22     you not take one between a question and
     23     answer; we'll wait until the answer is
     24     completed to take a break.             And we'll all try
     25     to remind ourselves to remove our microphones

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      1      before we break.
      2              A.        Okay.
      3              Q.        But you're allowed one break
      4      without removing it.
      5                        Where do you live?
      6              A.        In New York state.
      7              Q.        And did you prepare at all for
      8      this deposition today?
      9              A.        Yes.
     10              Q.        Okay.    Did you meet with your
     11      lawyers?
     12              A.        Yes.
     13              Q.        Okay.    Who did you meet with?
     14              A.        Nathan, Paul and Dana.
     15              Q.        And for approximately how long?
     16              A.        Five to six hours in total.
     17              Q.        And did you review any
     18      documents in preparation for this deposition?
     19              A.        Yes.
     20              Q.        And were those documents that
     21      you had in your possession, or were they
     22      provided to you?
     23              A.        They were provided to me.
     24              Q.        Okay.    Were any of the
     25      documents that you reviewed in your

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      1      possession?
      2              A.        No.
      3              Q.        And did you review those
      4      documents separately from the meetings that
      5      you had with Nathan, Paul and Dana?
      6                        MR. HOFFMAN:       Object to the
      7              form.
      8                        To the extent counsel provided
      9              it to him, I don't think there's any
     10              distinction there, but go ahead.
     11      QUESTIONS BY MS. CONROY:
     12              Q.        Well, I'm asking about when you
     13      reviewed them.
     14                        Did you review them during the
     15      time you were meeting with your lawyers, or
     16      was it a separate period of time that you
     17      reviewed the documents?
     18              A.        Both.
     19              Q.        Okay.    And approximately how
     20      much time did you spend reviewing the
     21      documents outside the presence of your
     22      lawyers?
     23              A.        Maybe an hour.
     24              Q.        What's your current title at
     25      Purdue?

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      1              A.        I am vice president and chief
      2      security officer.
      3              Q.        VP and chief security officer.
      4                        What are your responsibilities
      5      in that role?
      6              A.        I am responsible for the
      7      protection of the company's people, its
      8      facilities, its information.
      9                        That's in the broadest sense.
     10              Q.        And for how long have you held
     11      that position?
     12              A.        I've been with Purdue for ten
     13      years.
     14              Q.        And have you been a vice
     15      president and chief security officer for the
     16      ten years?
     17              A.        Yes.
     18              Q.        Have you had any promotions or
     19      job title changes in the ten years?
     20              A.        No.
     21              Q.        How about responsibilities,
     22      have they changed over the ten years?
     23              A.        Yes.
     24              Q.        In what way?
     25              A.        Currently I'm chairman of the

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      1      executive audit committee.
      2              Q.        And what does the executive
      3      audit committee do, or what are your
      4      responsibilities on that committee?
      5              A.        We coordinate the activities of
      6      our external auditors and our internal
      7      auditors.
      8              Q.        Any other responsibilities that
      9      have changed over the ten years?
     10              A.        Yes.
     11                        I don't recall when it
     12      occurred, but the control substance act group
     13      based out of our North Carolina facilities
     14      was moved from the legal division into
     15      corporate security.
     16              Q.        The North Carolina facility,
     17      what does that facility do?
     18              A.        That's a manufacturing
     19      facility.
     20              Q.        Okay.    And what did the CSA
     21      group do, roughly, generally, at that
     22      manufacturing facility?
     23              A.        Primary mandate is to be
     24      DEA-ready, for inspection by the DEA.
     25              Q.        And that group was moved?

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      1              A.        Yes.
      2              Q.        Off site?
      3              A.        No.    Moved from where it
      4      reported in to.
      5              Q.        Oh, I see.      I see.
      6                        So they remain in North
      7      Carolina --
      8              A.        Yes.
      9              Q.        -- but they report to you?
     10              A.        They did, yes, that's correct.
     11              Q.        They did.      Okay.
     12                        And is that no longer the case?
     13              A.        That is not the case now.
     14              Q.        Okay.    And for how long has
     15      that not been the case?
     16              A.        The change occurred last year.
     17              Q.        Do they report to someone else?
     18              A.        They report locally, into local
     19      operations, with oversight by corporate
     20      security.
     21              Q.        Any other changes in
     22      responsibilities?
     23              A.        No.
     24              Q.        Did you -- at some point you
     25      became a member of the order monitoring

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      1      committee at Purdue?
      2              A.        Yes.
      3              Q.        Okay.    And did that start when
      4      you began at Purdue?
      5              A.        Yes.
      6              Q.        And has that remained the case?
      7              A.        Yes.
      8              Q.        Where were you before Purdue?
      9              A.        I was with Bristol-Myers
     10      Squibb, BMS, as you probably -- as I see you
     11      writing down here.
     12              Q.        And what was -- what were
     13      your -- what was generally your title and
     14      your responsibilities there?
     15              A.        I was the senior director of
     16      corporate security with worldwide
     17      responsibility.        Same three broad bullets of
     18      responsibility.
     19              Q.        Okay.    And where were you
     20      located?
     21              A.        Here in New York City.
     22              Q.        And where is your office at
     23      Purdue, if you have an office?
     24              A.        Stamford, Connecticut.
     25              Q.        And is that where you go to

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      1      work every day?
      2              A.        Yes.
      3              Q.        And has that been the case for
      4      the ten years?
      5              A.        Yes.
      6              Q.        For how long were you at BMS?
      7              A.        Over 27 years.
      8              Q.        So I take it your roles changed
      9      and expanded over those 27 years?
     10              A.        Yes.
     11              Q.        And could you describe for me
     12      briefly why you left BMS and went to Purdue
     13      ten years ago?
     14              A.        It was an opportunity to
     15      actually be the leader of the entire group,
     16      corporate security.
     17              Q.        And you described BMS as a -- I
     18      think did you say international --
     19              A.        No, I did not.
     20              Q.        How did you describe it?
     21              A.        I said my responsibilities were
     22      global.
     23              Q.        Global.     Oh, sorry.
     24                        What is the range of your
     25      responsibilities at Purdue geographically?

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      1              A.        United States.
      2              Q.        Is there someone -- is there
      3      anyone in Connecticut that is responsible for
      4      outside of the United States in a corporate
      5      security capacity?
      6              A.        No.
      7              Q.        And what facilities in the
      8      United States do you oversee in your role as
      9      VP and corporate security chief?
     10              A.        We have our corporate
     11      headquarters and our two manufacturing
     12      locations in North Carolina.
     13              Q.        What about Rhodes in Rhode
     14      Island?
     15              A.        No direct responsibility for
     16      Rhodes.
     17              Q.        Do you have any indirect
     18      responsibilities for Rhodes?
     19              A.        On occasion, providing
     20      consultation and advice.
     21              Q.        Is there someone in a role
     22      comparable to yours at Rhodes?
     23              A.        There is a security manager at
     24      Rhodes.
     25              Q.        Prior to BMS -- long time

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      1      ago --
      2              A.        Yes.    Yes, it was.
      3              Q.        -- where were you?
      4              A.        I was a special investigator
      5      with the New York State Attorney General's
      6      Office.
      7              Q.        And what was your concentration
      8      there or what did you investigate?
      9              A.        Criminal investigations of
     10      health care fraud at hospitals, nursing homes
     11      and eventually Medicaid, all Medicaid fraud,
     12      throughout the state.
     13              Q.        And how long were you there?
     14              A.        I was there four years.
     15              Q.        What sort of fraud did you
     16      investigate?       You can give me some examples.
     17              A.        Health care fraud.         It was
     18      basically white collar crime.
     19              Q.        Okay.    Did you investigate
     20      doctors?
     21              A.        Yes.
     22              Q.        Did you investigate
     23      pharmaceutical companies?
     24              A.        No.
     25              Q.        What about distributors or

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      1      anyone in the supply chain of a
      2      pharmaceutical --
      3              A.        No.
      4              Q.        -- company?
      5              A.        No.
      6                        MR. HOFFMAN:       Just wait until
      7              she finishes her question.
      8      QUESTIONS BY MS. CONROY:
      9              Q.        And prior to the New York State
     10      Attorney General's Office, where were you?
     11              A.        I was at university.
     12              Q.        Okay.    And which university?
     13              A.        I graduated in -- at Florida
     14      Atlantic University.
     15              Q.        And what year was that that you
     16      graduated?
     17              A.        1977.
     18              Q.        And what was your degree?
     19              A.        Criminal justice.
     20              Q.        Do you have any degrees
     21      after -- was that a BA or a BS?
     22              A.        BA.
     23              Q.        Any degrees after the BA?
     24              A.        Yes.
     25              Q.        And what are they?

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      1              A.        I have a bachelor's degree in
      2      accounting.
      3              Q.        And where did you receive that
      4      degree?
      5              A.        New York -- SUNY Empire State
      6      College.
      7              Q.        And when?
      8              A.        1981.
      9              Q.        Any other degrees?
     10              A.        I have an MBA.
     11              Q.        And year?      What year did you
     12      receive that?
     13              A.        1984.
     14              Q.        And whereabouts?
     15              A.        New York Institute of
     16      Technology.
     17              Q.        And any other degrees?
     18              A.        No.
     19              Q.        Do you have any certifications
     20      of any sort?
     21              A.        Yes.
     22              Q.        What are they?
     23              A.        I have a CPP, which is
     24      designated by ASIS International, which is
     25      the largest security association in the

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      1      world.
      2              Q.        And what is that -- what does
      3      that certification suggest to the world?
      4              A.        That you're a professional,
      5      certified protection professional.
      6              Q.        And what is involved in
      7      receiving that certification?
      8              A.        Examination.
      9              Q.        And when did you first take
     10      that examination?
     11              A.        Oh, gee.
     12              Q.        Or if you want to give me like
     13      where you were or --
     14              A.        I'm thinking it was 1996, '97.
     15              Q.        And is that something that you
     16      just take once, or do you have to renew it
     17      over time?
     18              A.        You have to take continuing
     19      education.
     20              Q.        And have you done that?           Have
     21      you kept up with it?
     22              A.        Yes.
     23              Q.        Any other certifications?
     24              A.        I am a certified fraud
     25      examiner.

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      1              Q.        And when did you receive that
      2      certification?
      3              A.        I don't recall.
      4              Q.        Would it have been prior to
      5      your New York State employment?
      6              A.        No.
      7              Q.        And are you current as a
      8      certified fraud examiner?
      9              A.        Yes, I am.
     10              Q.        And any other certifications?
     11              A.        No.
     12              Q.        Do you teach at all?
     13              A.        Not currently.
     14              Q.        Have you taught in the past?
     15              A.        Yes.
     16              Q.        What have you taught?
     17              A.        What was it?       Corporate
     18      security.      Corporate security.
     19              Q.        Okay.    And where did you do
     20      that?
     21              A.        Suffolk County Community
     22      College in New York.
     23              Q.        Out on Long Island?
     24              A.        That is correct.
     25              Q.        And for how long did you do

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      1      that?
      2              A.        I believe two semesters.
      3              Q.        And how long ago was that,
      4      approximately?
      5              A.        Over ten years ago.
      6              Q.        So while you were at BMS?
      7              A.        That is correct.
      8              Q.        Any other teaching engagements?
      9              A.        No.
     10              Q.        And do you ever participate as
     11      an instructor in CLE?
     12              A.        No.
     13              Q.        Have you ever published any
     14      articles or books or book chapters with
     15      respect to any of your employment
     16      responsibilities?
     17              A.        No.
     18              Q.        Any in the works?
     19              A.        No.




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       1                        Are you familiar at all with
       2      the procedures in the national accounts
       3      department with respect to the receipt of
       4      orders from distributors or wholesalers with
       5      respect to triggering a suspicious order
       6      because of size, frequency or pattern?
       7                        MR. HOFFMAN:       Objection.
       8      QUESTIONS BY MS. CONROY:
       9              Q.        That's before the order is
      10      filled.
      11                        MR. HOFFMAN:       Sorry.
      12      QUESTIONS BY MS. CONROY:
      13              Q.        Are you familiar with that
      14      trigger?
      15                        MR. HOFFMAN:       Sorry.      Object to
      16              form.
      17                        THE WITNESS:       No.
      18      QUESTIONS BY MS. CONROY:
      19              Q.        Did you understand what I was
      20      talking about?
      21              A.        Yes.
      22              Q.        And then I take it you have
      23      never had any conversations with Stephen Seid
      24      or Mr. Berjanski {phonetic} about suspicious
      25      order triggers when the order actually comes

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       1      into Purdue before the order is filled?
       2              A.        I don't recall having specific
       3      discussions with Mr. Seid or Mr. Berjanski
       4      about that.
       5              Q.        Okay.     Do you recall any
       6      conversations with anyone about that?
       7              A.        I don't recall any specific
       8      conversations.
       9              Q.        Do you recall ever generally
      10      discussing the concept of there being a
      11      trigger with respect to the size, frequency
      12      or pattern of an order that is received by
      13      Purdue?
      14              A.        I recall discussion at
      15      committee meetings where this would be
      16      discussed.
      17              Q.        And what do you recall about
      18      that?
      19              A.        That this group, national
      20      account group, would -- that there was a
      21      review that would be conducted of orders at
      22      their level looking for large or unusual
      23      orders during any given time.
      24              Q.        And was there any discussion
      25      about what was done with those orders,

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       1      whether they were filled or not?
       2              A.        I don't recall any specific
       3      discussions about that.
       4              Q.        Was there any discussion about
       5      the connection between filling the order to
       6      the distributor and pharmacies of suspicion
       7      that that distributor was supplying?
       8                        MR. HOFFMAN:       Object to form.
       9                        THE WITNESS:       I don't recall
      10              any specific discussions.




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       4                        MR. HOFFMAN:       Jayne, for your
       5              planning purposes, I think we're
       6              having lunch set up at like 12:15.                So
       7              it's in another 20-something minutes.
       8              If that's okay with you guys.
       9                        MS. CONROY:       That's great.
      10              Thank you.
      11                        How are you doing?          Do you
      12              want --
      13                        THE WITNESS:       I'm fine.
      14                        MS. CONROY:       Okay.     We'll
      15              keep -- we'll just keep going?
      16                        MR. HOFFMAN:       Sure.
      17                        MS. CONROY:       You tell me when
      18              lunch is here.        Or tell me when it's
      19              12:20.




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       7                        MS. CONROY:       I'll try and do it
       8              in order.      That would actually make
       9              more sense.
      10                        THE WITNESS:       While you're
      11              doing that, may I just step out for a
      12              second?      Thank you.
      13                        MS. CONROY:       We'll go off the
      14              record.
      15                        VIDEOGRAPHER:        The time is
      16              11:54 a.m.       Off the record.
      17               (Off the record at 11:54 a.m.)
      18                        VIDEOGRAPHER:        Okay.     We are
      19              back on the record.          The time is
      20              11:59 a.m.
      21                        (Purdue-Geraci Exhibits 6, 7
      22              and 8 marked for identification.)




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       9                        Do you know if the order
      10      monitoring committee has been suspended, or
      11      do you know if it ceases to exist?
      12                        MR. HOFFMAN:       Object to the
      13              form.
      14                        THE WITNESS:       The order
      15              monitoring committee continues.
      16      QUESTIONS BY MS. CONROY:
      17              Q.        Have you had any meetings?
      18              A.        I don't know if they've had any
      19      meetings.
      20              Q.        Okay.     Do you believe you're
      21      still on the order monitoring committee?
      22              A.        I don't -- there isn't a
      23      committee as such as it was before, so to
      24      answer your question, I -- I really haven't
      25      given thought as to if I'm on the committee

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       1      or not.
       2              Q.        Okay.     Let me ask it this way:
       3      Do you know if there -- do you know if
       4      there's still an order monitoring committee
       5      but it's a different committee and under a
       6      different oversight department, or is it the
       7      same order monitoring committee, you just
       8      don't know if it's active?
       9              A.        I just testified that it still
      10      exists.      It is active.       It is within the
      11      corporate ethics and compliance group.
      12              Q.        Did you say it is within the
      13      corporate --
      14              A.        It is within.
      15              Q.        The corporate ethics and
      16      compliance?
      17              A.        Yes.
      18              Q.        But you have not, to the best
      19      of your knowledge, attended any meetings?
      20              A.        I have not attended any
      21      meetings to the best of my knowledge.
      22              Q.        Okay.     Do you receive any
      23      packages or agendas or anything like that
      24      with respect to the order monitoring
      25      committee now that it's part of corporate

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       1      ethics and compliance?
       2              A.        I have not, to the best of my
       3      recollection.
       4              Q.        What about Mr. Bauza, do you
       5      know if he has attended any meetings or if he
       6      receives any materials?
       7              A.        I don't know.
       8              Q.        How do you know it's still
       9      active?
      10              A.        In my discussions with Maggie
      11      Feltz, and in discussions I've had with Eric
      12      Brantley over time.
      13              Q.        Do you know who the other
      14      committee members are once there was the
      15      switch to corporate ethics?
      16              A.        The committee members were
      17      those individuals listed on the -- I think
      18      they call this their SOP, right?
      19              Q.        Right.
      20              A.        Yes.    Corporate compliance
      21      CC-SOP.      It would be those individuals.
      22              Q.        Danielle --
      23              A.        Eric Brantley, Danielle Bacco,
      24      Margaret Feltz, Alexis Stroud.
      25              Q.        Do you know if anyone from

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       1      national accounts is still on the order
       2      monitoring committee?
       3              A.        I don't know.
       4              Q.        Do you know if anyone from
       5      marketing or sales, the marketing and sales
       6      side of the business, is on the order
       7      monitoring committee?
       8              A.        I don't know.
       9              Q.        Do you know if anyone from the
      10      legal department is on the order monitoring
      11      committee?
      12              A.        I don't know.
      13              Q.        Do you know if it's only those
      14      four individuals, or do you know one way or
      15      the other if there are additional members on
      16      the committee?
      17              A.        I don't know if there are
      18      additional members.
      19              Q.        Do you know if you are -- let
      20      me ask it this way:          Would you have been
      21      familiar with or had in your possession, for
      22      example, the SOP with respect to ADD, abuse,
      23      diversion and detection?            Would that be
      24      something that you would have -- you would
      25      have had in your role as a member of the

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       1      order monitoring committee?
       2              A.        That I would have had what?
       3      I'm sorry, Ms. Conroy.
       4              Q.        The SOP, for example, the ADD
       5      reports.
       6              A.        I don't recall ever having the
       7      SOP for the ADD or anything related to ADD.
       8              Q.        Did you ever even know that
       9      there was an SOP for the ADD reporting?
      10              A.        Did I ever know?         No, I don't
      11      know.
      12              Q.        Okay.     Did you ever know one
      13      way or the other whether there was an SOP for
      14      reports of concern?
      15              A.        I don't know or ever recall
      16      being aware of an SOP for reports of concern.
      17              Q.        So that's not something you
      18      would have had in your possession, such an
      19      SOP, or if you had it, you didn't know what
      20      it was?
      21              A.        Well, I'll answer that I don't
      22      know that I ever had those in my possession,
      23      those SOPs.
      24              Q.        What about a Fee-For-Service
      25      SOP, is that familiar to you at all?                 Would

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       1      you have ever seen one of those?
       2              A.        I don't recall ever seeing a
       3      Fee-For-Service SOP.
       4              Q.        Do you know if you even knew if
       5      one existed?
       6              A.        I did not know that one
       7      existed.
       8              Q.        Okay.     Generally at Purdue --
       9      or let me ask it this way:             In your role as
      10      corporate security, do you work -- do you and
      11      the individuals who report to you operate
      12      under SOPs or refer to SOPs for their sort of
      13      daily functions?
      14                        MR. HOFFMAN:       Object to the
      15              form.
      16                        THE WITNESS:       Corporate
      17              security has certain SOPs that are
      18              very specific, but not to your daily
      19              function.      Not that I know of to daily
      20              function.      Pretty much in the roles
      21              and responsibilities.           Physical
      22              security, for example.
      23      QUESTIONS BY MS. CONROY:
      24              Q.        And are you involved in the
      25      drafting or review of those SOPs that relate

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       1      to corporate security?
       2              A.        I would have been when those
       3      things -- during my tenure if those things
       4      were up for review or for drafting, I would
       5      have reviewed those and approved those.
       6              Q.        And is there a department at
       7      Purdue that keeps track of SOPs that makes
       8      sure that they are kept up to date and they
       9      keep a record of that sort of thing?
      10                        MR. HOFFMAN:       Object to the
      11              form.     Beyond the scope.
      12                        THE WITNESS:       Yeah, I don't
      13              know if there's a department that has
      14              it.    I assume that they reside
      15              someplace.
      16      QUESTIONS BY MS. CONROY:
      17              Q.        When you have a new employee
      18      come in to corporate security, are they given
      19      the SOPs for that -- for the corporate
      20      security department?
      21                        MR. HOFFMAN:       Object to the
      22              form.
      23                        THE WITNESS:       No.
      24                        MR. HOFFMAN:       Beyond the scope.
      25                        THE WITNESS:       Yeah, I haven't

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       1              had a new employee in a long time.                I
       2              don't recall.
       3      QUESTIONS BY MS. CONROY:
       4              Q.        Okay.     Would you, for example,
       5      have copies or know where to puts your hands
       6      on the SOPs that relate to corporate
       7      security?
       8              A.        I would know who to ask to get
       9      those.
      10              Q.        Is it part of Purdue as a
      11      corporation's culture to have SOPs that sort
      12      of guide or explain in general the
      13      responsibilities and duties of the different
      14      departments?
      15                        MR. HOFFMAN:       Object to the
      16              form.     Beyond the scope.
      17                        THE WITNESS:       To the best of my
      18              knowledge, we -- there are a number of
      19              SOPs that various departments, if not
      20              all departments, have, to the extent
      21              of which I don't know.
      22      QUESTIONS BY MS. CONROY:
      23              Q.        Compared to an SOP, for
      24      example, do you have a guidebook or anything
      25      like that for corporate security or would it

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       1      be the SOPs?
       2              A.        We do not have a guidebook, per
       3      se.
       4              Q.        Do you have something like a
       5      guidebook?
       6              A.        As I recall, there may be some
       7      references to, quote, security in our
       8      employee handbooks, but it's broad and
       9      general, just for the employee base.
      10              Q.        Okay.     With respect to the
      11      order monitoring committee, we looked at the
      12      SOP that specifically concerned the order
      13      monitoring committee, correct?
      14              A.        Yes, we did.
      15              Q.        Are you familiar with any other
      16      guidelines, handbooks, anything else that you
      17      would have referred to as a member of the
      18      order monitoring committee to define your
      19      responsibilities or outline your
      20      responsibilities or lay out protocols,
      21      anything like that, or would it be the SOP?
      22              A.        I'm unaware of any other SOP or
      23      guidelines that would have guided our -- how
      24      we comported ourselves with regard to the
      25      order monitoring.

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       1                        MS. CONROY:       Okay.     I think we
       2              can break for lunch.           We just saved a
       3              lot of time.
       4                        THE WITNESS:       Great.      Good.
       5                        VIDEOGRAPHER:        Off the record,
       6              right?     The time is 12:16 p.m.            Off
       7              the record.
       8               (Off the record at 12:16 p.m.)
       9                        VIDEOGRAPHER:        Okay.     We are
      10              back on the record.          The time is
      11              1:16 p.m.




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      20                        Are you familiar with the
      21      entities ValuTrack or ValueCentric?
      22              A.        I've heard the names.
      23              Q.        If I suggested to you they had
      24      something to do with the collection of
      25      Fee-For-Service data, would that refresh your

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       1      memory at all?
       2              A.        It sounds reasonable.
       3              Q.        What about the either software,
       4      a database or an entity known as Vinyl?                  Is
       5      that familiar to you at all?
       6              A.        Yes.
       7              Q.        And what is that?
       8              A.        As I recall, it's a software
       9      that was used to capture information so --
      10      for easier retrieval, whether it be reports
      11      of concern -- and I'm not sure if
      12      Fee-For-Service data was in there, but that's
      13      what I recall.        It was a better way of
      14      tracking information and being able to
      15      retrieve that information.
      16              Q.        Okay.     Is it still in effect?
      17      Do you know?
      18              A.        I don't know.
      19              Q.        Can you put a time frame on it?
      20                        Would it have been at the time
      21      that legal was responsible at the order
      22      monitoring committee, or compliance?
      23              A.        I don't recall.         I don't
      24      recall.
      25              Q.        Are you familiar at all with

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       1      scorecards that are kept by national accounts
       2      with respect to particular -- with respect to
       3      all of the authorized distributors?
       4              A.        No.
       5              Q.        You're not familiar with that
       6      term "scorecards"?
       7              A.        For distributors, no.
       8              Q.        Okay.     Are you familiar with it
       9      for pharmacies?
      10              A.        No.
      11              Q.        Have you heard of the entity
      12      Edge Dynamics?
      13              A.        No, I have not.




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      16              Q.        Did you ever see any board
      17      packages or have any discussions at the -- or
      18      not board -- committee packages or have any
      19      discussions at the order monitoring committee
      20      about any CVS stores?
      21              A.        I don't recall any discussions
      22      about any particular chains, including CVS.
      23              Q.        Do you know why there wouldn't
      24      have been any discussion about chains?
      25              A.        No.

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       1                        MR. HOFFMAN:       Object to the
       2              form.
       3                        THE WITNESS:       No, I don't.
       4      QUESTIONS BY MS. CONROY:
       5              Q.        Do you know whether the
       6      individual data with respect to the actual
       7      chain pharmacy at a particular street address
       8      was available in the Fee-For-Service data?
       9              A.        I assume that it was.
      10              Q.        Did it ever -- did it ever come
      11      up as an issue that the chain pharmacies did
      12      not appear in conversations at the order
      13      monitoring committee?
      14                        MR. HOFFMAN:       Object to the
      15              form.
      16                        THE WITNESS:       I don't recall.
      17      QUESTIONS BY MS. CONROY:
      18              Q.        But you do recall that -- you
      19      don't recall there ever being a discussion
      20      about one of the chain pharmacies at an order
      21      monitoring committee meeting?
      22              A.        I don't recall.
      23              Q.        You don't --
      24              A.        I don't recall a discussion
      25      about a chain pharmacy at an OMS meeting.

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       1              Q.        Okay.     Thank you.
       2                        Do you believe that Purdue had
       3      as much data as their authorized distributors
       4      with respect to the outlets or the
       5      pharmacies?
       6                        MR. HOFFMAN:       Object to the
       7              form.
       8                        THE WITNESS:       I can't judge
       9              that because I don't know what the
      10              distributors actually had.
      11      QUESTIONS BY MS. CONROY:
      12              Q.        Was there anything that you
      13      believed Purdue was missing with respect to
      14      pharmacy data that it was receiving from the
      15      distributors?
      16                        MR. HOFFMAN:       Object to the
      17              form.     Calls for speculation.
      18                        THE WITNESS:       It never -- I
      19              never thought of any particular
      20              information that was not forthcoming
      21              to us based on what we were requiring
      22              from the distributors.
      23      QUESTIONS BY MS. CONROY:
      24              Q.        So you yourself never
      25      identified any gaps or areas where you would

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       1      like more information?
       2              A.        More information from whom?
       3              Q.        From the -- from your customer,
       4      the distributor.
       5              A.        I don't recall that ever coming
       6      up or me thinking there was a gap.
       7              Q.        Right.
       8              A.        I don't recall that happening.
       9              Q.        Okay.     Would you agree that at
      10      least as long as you were involved in the
      11      order monitoring committee that Purdue has no
      12      quantifiable trigger that identifies an order
      13      as suspicious and would require a referral to
      14      DEA?
      15                        MR. HOFFMAN:       Object to form.
      16              Beyond the scope.
      17                        THE WITNESS:       Would you
      18              rephrase the question, please?
      19      QUESTIONS BY MS. CONROY:
      20              Q.        Well, I'll tell you what, I'll
      21      try or -- I'll reask it.
      22                        Do you know if Purdue has a
      23      quantifiable trigger that would automatically
      24      require Purdue to refer to the DEA a
      25      suspicious customer?

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       1                        MR. HOFFMAN:       Object to form.
       2              Time frame and beyond the scope.
       3                        THE WITNESS:       I do not know if
       4              we have an -- a quantifiable automatic
       5              trigger, and there's none to the best
       6              of my knowledge.
       7      QUESTIONS BY MS. CONROY:
       8              Q.        And so far as you know, the
       9      order monitoring committee must be involved
      10      in order to reach a determination to refer a
      11      suspicious pharmacy or outlet to the DEA?
      12                        MR. HOFFMAN:       Object to form.
      13                        THE WITNESS:       Order monitoring
      14              committee or system would be -- has to
      15              be involved --
      16      QUESTIONS BY MS. CONROY:
      17              Q.        Right.
      18              A.        -- for pharmacy referrals to
      19      the DEA.
      20              Q.        Or at least that's how you
      21      understand it works.          There would be a
      22      determination by the members of the order
      23      monitoring committee to refer to DEA?
      24              A.        That is correct.
      25              Q.        Are you aware of any time

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       1      restrictions based on ongoing investigations
       2      of suspicious pharmacies or customers at
       3      Purdue?
       4                        MR. HOFFMAN:       Object to the
       5              form.
       6                        THE WITNESS:       I'm not aware of
       7              any time restrictions.
       8      QUESTIONS BY MS. CONROY:
       9              Q.        So for as long as the order
      10      monitoring committee decides to investigate a
      11      pharmacy, there's no cutoff of that; they can
      12      continue to investigate as long as they see
      13      fit?
      14              A.        I'm unaware of any time
      15      restriction.
      16              Q.        Is it true that if a
      17      distributor's customer was deemed to be
      18      suspicious, at least by triggering the
      19      algorithm, that a distributor could just --
      20      in a conversation with a member of the order
      21      monitoring committee could justify that or
      22      explain why such an order took place or
      23      whatever to dispel the suspicion?
      24                        MR. HOFFMAN:       Object to form.
      25                        THE WITNESS:       It's my

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       1              understanding that there -- in that
       2              conversation, if it was had and when
       3              it was had, that they could provide,
       4              the distributor could provide,
       5              justification or an explanation that
       6              may explain the anomaly in the orders.
       7                        That information then would be
       8              presented to the OMS team for
       9              consideration.
      10      QUESTIONS BY MS. CONROY:
      11              Q.        Do you know if that information
      12      needed to be in writing or could it be
      13      relayed to one of the -- to the order
      14      monitoring committee members and then
      15      expressed at the committee meeting, or did it
      16      need -- did that justification or explanation
      17      need to be in writing from the distributor or
      18      from the pharmacy?
      19              A.        Yeah, I don't believe it needed
      20      to be in writing.
      21              Q.        Okay.     I don't know if you know
      22      the answer to this, but let me ask it anyway.
      23                        With respect to any electronic
      24      records with respect to the OMS work or lists
      25      of suspicious pharmacies or whatever, do you

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       1      know if someone went in and searched that
       2      database if those -- if logs of searches were
       3      retained?
       4              A.        I have no knowledge of that.
       5              Q.        Okay.     And likewise, do you
       6      know whether or not it was possible to
       7      overwrite electronic notes in the OMS
       8      database?      Do you know one way or the other?
       9              A.        I don't know.
      10              Q.        Do you know one way or the
      11      other whether there is any centralized
      12      repository for queries that were made into or
      13      of the order monitoring database?
      14                        MR. HOFFMAN:       I'll just object
      15              to form.      I think all of these are
      16              beyond the scope.
      17                        But go ahead, if you know.
      18                        THE WITNESS:       I don't know.
      19      QUESTIONS BY MS. CONROY:
      20              Q.        Do you believe there's an
      21      opioid crisis in this country?
      22                        MR. HOFFMAN:       Objection.
      23              Beyond the scope.
      24                        THE WITNESS:       Yes, there is
      25              an -- I do believe there's an opioid

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       1              crisis.
       2      QUESTIONS BY MS. CONROY:
       3              Q.        Do you believe that the order
       4      monitoring committee and the role it played
       5      was successful?
       6                        MR. HOFFMAN:       Object to form.
       7                        THE WITNESS:       I believe that
       8              the order monitoring committee, that
       9              the good work and the evolution of
      10              that committee to do its job better
      11              and better and more efficiently, was
      12              successful to a certain extent.               It --
      13              there were referrals to the DEA, and
      14              we considered that a very positive
      15              step and a good thing to do.
      16                        So there's a certain -- certain
      17              measure of success there as far as I'm
      18              concerned.
      19      QUESTIONS BY MS. CONROY:
      20              Q.        Okay.     And is that how you
      21      measure the success of the order monitoring
      22      committee, the referrals to DEA?
      23                        MR. HOFFMAN:       Object to form.
      24              Beyond the scope.
      25                        THE WITNESS:       I could see that

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       1              as being a measure of success.
       2      QUESTIONS BY MS. CONROY:
       3              Q.        Any other measures that you can
       4      see?
       5                        MR. HOFFMAN:       Same objection.
       6                        THE WITNESS:       I would say over
       7              time that the measure of success is
       8              how we -- how the committee became
       9              more sophisticated, developed and was
      10              continuously improving itself.
      11      QUESTIONS BY MS. CONROY:
      12              Q.        Would you agree that the one
      13      reason for the opioid crisis is oversupply of
      14      opioids in the United States?
      15                        MR. HOFFMAN:       Object to form.
      16              Beyond the scope.
      17                        THE WITNESS:       I believe that
      18              the opioid crisis -- very complicated,
      19              many, many factors there, so -- and I
      20              never -- I haven't studied it to say
      21              what are those specific factors and if
      22              that would be -- went into play.
      23      QUESTIONS BY MS. CONROY:
      24              Q.        So you don't know if oversupply
      25      would be one factor?

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       1              A.        I can't comment on that.
       2              Q.        Was the order monitoring
       3      committee set up in part to determine whether
       4      or not there was oversupply to a particular
       5      customer?
       6                        MR. HOFFMAN:       Object to the
       7              form.
       8                        THE WITNESS:       I was not with
       9              the company when they set up the order
      10              monitoring system.
      11      QUESTIONS BY MS. CONROY:
      12              Q.        Did you ever understand
      13      oversupply to a particular customer to be
      14      potentially a suspicious -- an indication of
      15      suspicion?
      16                        MR. HOFFMAN:       Object to form.
      17                        THE WITNESS:       I do recall in
      18              one instance, and I forget the name of
      19              the distributor, but it was tied to a
      20              pharmacy in Las Vegas, and I do recall
      21              that there was discussion about not
      22              about oversupply but overpurchasing by
      23              this particular wholesaler, and it
      24              appeared that a lot of the product was
      25              going to one particular pharmacy.

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       1      QUESTIONS BY MS. CONROY:
       2              Q.        So overpurchasing by a
       3      distributor that was then ultimately supplied
       4      to an individual pharmacy, would you call
       5      that oversupply?
       6              A.        I would call it a suspicious
       7      order.
       8              Q.        Suspicious because of its size?
       9              A.        Because of its size.
      10              Q.        Did the order monitoring
      11      committee ever stop any shipments of opioids?
      12              A.        I believe that there were
      13      certain instances where not the order
      14      monitoring team -- committee, but individuals
      15      or an individual that is a member of the
      16      team, based on a lot of this information,
      17      would at times produce orders to certain
      18      wholesalers.
      19              Q.        Did you ever, as an order
      20      monitoring committee member, reduce an order
      21      to a wholesaler?
      22              A.        No, I did not, because I did
      23      not have the authority to do so.
      24              Q.        Who did have the authority to
      25      do that?

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       1              A.        I -- as I recall, it was done
       2      by Stephen Seid.
       3              Q.        Okay.     And do you believe
       4      Stephen Seid, as a member of the order
       5      monitoring committee, reduced certain orders
       6      to wholesalers?
       7              A.        I recall him doing it -- I
       8      recall there were instances where, in fact,
       9      he had done that.
      10              Q.        Okay.     And do you recall why he
      11      did that?
      12              A.        Because the orders appeared to
      13      be suspicious.
      14              Q.        Suspicious because of size?
      15                        MR. HOFFMAN:       Object to the
      16              form.
      17                        THE WITNESS:       Because either of
      18              size or because it became -- based on
      19              the algorithm, it looked unusual.
      20      QUESTIONS BY MS. CONROY:
      21              Q.        And he had the authority to do
      22      that on his own.         That was not something that
      23      the order monitoring committee would vote on?
      24              A.        I believe that he -- I don't
      25      believe it was the vote of the order

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       1      monitoring committee, but Steve Seid, whether
       2      he did on it on his own or had to receive
       3      approval from his management, is something
       4      I'm unaware of.
       5              Q.        But that was outside of -- as
       6      far as you know, the order monitoring
       7      committee never stopped any shipments of
       8      opioids?
       9                        MR. HOFFMAN:       Object to the
      10              form.
      11                        THE WITNESS:       The order
      12              monitoring committee was a monitoring
      13              committee, not responsible, or
      14              directly responsible, for the movement
      15              of product.
      16                        MS. CONROY:       I think that's all
      17              I have.      Thank you.
      18                        THE WITNESS:       Thank you.
      19                        MR. LAFATA:       Let's go off the
      20              record.
      21                        VIDEOGRAPHER:        Okay.     The time
      22              is 2:12 p.m.        Off the record.
      23               (Off the record at 2:12 p.m.)
      24                        VIDEOGRAPHER:        The time is
      25              2:31.     Back on the record.

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       1                        CROSS-EXAMINATION
       2      QUESTIONS BY MR. HOFFMAN:
       3              Q.        Mr. Geraci, good afternoon.
       4                        Again, for the record, my name
       5      is Nathan Hoffman.          I represent Purdue, and
       6      now it's my chance to ask you a few
       7      questions.
       8                        Okay?
       9              A.        Okay.
      10              Q.        I promise to be brief.           Thank
      11      you for your patience.
      12                        I'd like to go to Exhibit 9, if
      13      you have that in front of you.              Just ask you
      14      a couple of clarifying questions.
      15                        And specifically, I'd like for
      16      you to turn to Slide Number 5, please.
      17              A.        (Witness complies.)
      18              Q.        Slide Number 5 is entitled,
      19      "OMS Information Sources."             And you will see
      20      that the fourth bullet point in the slide
      21      describes a prescriber -- it says,
      22      "Prescriber program information."
      23                        Do you see that?
      24              A.        Yes, I do.
      25              Q.        And you were asked some

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       1      questions about that earlier, and I just want
       2      to clarify for the record.
       3                        What was the prescriber program
       4      at Purdue?
       5                        MS. CONROY:       Objection.
       6                        THE WITNESS:       In looking at
       7              this, I'm assuming that this is
       8              referring to the ADD program.              I don't
       9              recall ever hearing it described as a
      10              prescriber program -- prescriber
      11              program information.
      12      QUESTIONS BY MR. HOFFMAN:
      13              Q.        But as far as any distinction
      14      between, for example, order monitoring, the
      15      order monitoring system and a prescriber
      16      program, is the only prescriber program that
      17      you're aware of at Purdue, would that be the
      18      ADD program?
      19                        MS. CONROY:       Objection.
      20                        THE WITNESS:       That would be
      21              correct.
      22      QUESTIONS BY MR. HOFFMAN:
      23              Q.        Okay.     And you had some
      24      discussion about that earlier.
      25                        Is it true that the ADD program

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       1      was abuse, diversion and detection program?
       2              A.        Yes.
       3              Q.        And which department or
       4      departments were involved in the ADD program,
       5      if you know?
       6              A.        Legal department.
       7              Q.        So would that be a separate
       8      group analyzing that information as compared
       9      to the OMS committee?
      10              A.        That is correct.
      11              Q.        Okay.     And then on the second
      12      page -- excuse me, not the second page, the
      13      next page, which is Slide 6, there is a title
      14      at the top of the slide.            It says,
      15      "Prescriber versus Dispenser."
      16                        Do you see that?
      17              A.        Yes, I do.
      18              Q.        And does this slide, in fact,
      19      make a distinction between the prescriber
      20      program on the one hand and the OMS program
      21      on the other?
      22                        MS. CONROY:       Objection.
      23                        THE WITNESS:       Yes, it does.
      24      QUESTIONS BY MR. HOFFMAN:
      25              Q.        And were you involved at all

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       1      directly in the ADD program versus your role
       2      in sitting on the OMS committee?
       3              A.        I was not directly involved in
       4      the ADD program.
       5              Q.        You were asked some questions
       6      by Ms. Conroy, I believe, to the effect of
       7      whether or not the OMS committee had the
       8      authority to stop or halt or change the
       9      orders that were being sent out to the
      10      wholesalers and distributors.
      11                        Do you recall that?
      12              A.        Yes, I do.
      13              Q.        Do you recall whether, in fact,
      14      the OMS committee at times provided guidance
      15      or input to committee members on the halting,
      16      changing or the volume of orders that were
      17      actually shipped to wholesalers and
      18      distributors?
      19                        MS. CONROY:       Objection.
      20                        THE WITNESS:       I don't -- I
      21              don't recall specifically, but it's
      22              reasonable that the committee would
      23              have provided guidance or
      24              recommendations to certain committee
      25              members concerning the distribution of

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       1              product to the distributors.
       2      QUESTIONS BY MR. HOFFMAN:
       3              Q.        And would that be generally in
       4      the custom and practice of the committee to
       5      provide that type of guidance to its members?
       6                        MS. CONROY:       Objection.
       7                        THE WITNESS:       When appropriate.
       8      QUESTIONS BY MR. HOFFMAN:
       9              Q.        And I believe you mentioned
      10      Mr. Seid earlier.
      11                        Is that who typically would be
      12      involved in those discussions?
      13              A.        He would be in those
      14      discussions and would in these -- in this
      15      instance would have been the recipient of
      16      that guidance and/or recommendation from the
      17      committee.
      18                        MR. HOFFMAN:       Okay.     Thank you.
      19              I believe those are all the questions
      20              we have at this time.
      21                        MS. CONROY:       I have a couple of
      22              follow-ups.
      23                        MR. HOFFMAN:       Let me mark that
      24              real quick for the record, just before
      25              you come back over here.            I forgot to

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       1              do this.
       2                        Just for the record, I'd like
       3              to mark as Exhibit 10 -- it's just our
       4              objection to the notice of deposition
       5              regarding the scope of the notice we
       6              received from plaintiff's counsel.                I
       7              simply want to mark it for the record.
       8              I'm not going to ask any questions
       9              about it.
      10                        (Purdue-Geraci Exhibit 10
      11              marked for identification.)
      12                      REDIRECT EXAMINATION
      13      QUESTIONS BY MS. CONROY:
      14              Q.        Mr. Geraci -- I'll wait until
      15      he get done.       Sorry.
      16                        With respect to the ADD
      17      program, you said that the legal department
      18      would be the separate group that would
      19      analyze that information developed from the
      20      ADD program as opposed to the order
      21      monitoring committee?
      22              A.        Yes.
      23              Q.        But isn't it true that the
      24      order monitoring committee did have access to
      25      whatever analysis was done by the legal

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       1      committee of the ADD information?
       2              A.        I believe I testified to that
       3      already and said yes.
       4              Q.        Okay.     So even though the
       5      analysis was done by the legal department,
       6      the order monitoring committee would be able
       7      to utilize that abuse, diversion -- abuse,
       8      detection and diversion information in its
       9      analysis of suspicious pharmacies?
      10              A.        Yes, it could.
      11              Q.        Your answers with respect to
      12      the questions about whether or not it would
      13      be -- whether or not you would have
      14      conversations among committee members with
      15      respect to the halting of product, do you
      16      recall that?
      17                        The question was:         Do you
      18      recall whether, in fact, the OMS committee at
      19      times provided guidance or input to committee
      20      members on the halting, changing or the
      21      volume of orders that were actually shipped
      22      to wholesalers and distributors?
      23                        And you said you didn't recall
      24      specifically, but it was reasonable that the
      25      committee would have provided guidance or

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       1      recommendations to certain committee members
       2      concerning the distribution of product.
       3                        Do you recall that?
       4              A.        Yes.
       5              Q.        Do you have a memory of
       6      providing guidance, or are you testifying
       7      that it would have been reasonable for you to
       8      do that but you don't know if it ever
       9      happened?
      10                        MR. HOFFMAN:       Object to the
      11              form.
      12                        THE WITNESS:       I believe I also
      13              testified that I did recall an
      14              instance, one particular wholesaler,
      15              that had come to the attention of the
      16              committee and had been -- and that
      17              there was guidance provided, I believe
      18              it was guidance provided, or sales
      19              operations, Steve Seid, cut back
      20              orders to that particular wholesaler.
      21              I believe I did testify to that, in
      22              fact.
      23      QUESTIONS BY MS. CONROY:
      24              Q.        Okay.     So that was a particular
      25      incidence when Stephen Seid came to the

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       1      committee and talked to you about a
       2      particular order from a distributor, a
       3      particular size order?
       4              A.        What I stated was I don't
       5      recall how it came about, whether Steve Seid
       6      brought it to the committee's attention, or
       7      if this particular wholesaler and, of course,
       8      by extension, the pharmacy or pharmacies
       9      connected to it, had been under scrutiny by
      10      the OMS committee.          I don't recall that.
      11                        But I do recall that there was
      12      an instance where orders to a particular
      13      wholesaler were, in fact, cut back.
      14              Q.        Do you have any particular --
      15      do you have any memory at all of discussing
      16      with committee members specific size orders
      17      that should be suspicious or a particular
      18      frequency of orders that should be suspicious
      19      or a particular pattern that should be
      20      suspicious?
      21                        MR. HOFFMAN:       Object to the
      22              form.
      23                        THE WITNESS:       I don't recall
      24              having that specific discussion.
      25

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       1      QUESTIONS BY MS. CONROY:
       2              Q.        Okay.     What you do recall is
       3      when an actual order was described to you, as
       4      a committee member, that you commented on
       5      that particular order.           And it was your
       6      recommendation, or at least the committee's
       7      recommendation, to Mr. Seid that that -- that
       8      order should not be shipped?
       9              A.        What I -- what I believe I
      10      stated just before was I don't recall the
      11      sequence of how it came to the committee's
      12      attention, what came first, but I do recall
      13      an instance where orders were cut back to a
      14      particular wholesaler.
      15              Q.        So if you don't recall the
      16      sequence, then you might remember that the
      17      committee decided a certain amount in an
      18      order should not be shipped, and then it's
      19      possible then that Mr. Seid said, "Oh, I have
      20      one of those"?
      21              A.        No, I don't recall it that way,
      22      and I don't recall that it was a particular
      23      size.
      24                        It was -- the one I'm referring
      25      to that I recall was -- and again, I don't

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       1      recall the sequence as to how it came about
       2      or came to the committee's attention, if it
       3      was sales, operation or national account,
       4      Mr. Seid seeing the pattern here, or if it
       5      was activity, investigative activity, that
       6      had been on -- under review by the OMS team.
       7      I just don't recall what came first.
       8                        And then I do recall that there
       9      was discussion and that there was a reduction
      10      in our sale of our product to this particular
      11      wholesaler.
      12              Q.        Do you recall the wholesaler?
      13              A.        If I recall correctly, I
      14      believe it was called Value Drug.                I believe.
      15              Q.        And that was a wholesaler?
      16              A.        Yes.
      17              Q.        Is that a wholesaler that was
      18      part of the L.A. investigation?
      19              A.        L.A. investigation by whom?
      20              Q.        By the L.A. Times or -- there
      21      was a very large investigation.               Jack Crowley
      22      was quoted in the newspaper.
      23                        Do you remember that?
      24              A.        I remember the L.A. Times
      25      articles.      I don't recall specifically if

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       1      Valley Drug or whatever their name actually
       2      is or was mentioned in those articles.                  I
       3      just don't recall it.
       4              Q.        Okay.     But you believe the
       5      wholesaler was Valley Drug?
       6              A.        I believe so.
       7              Q.        And is it your best memory that
       8      the order to Valley Drug was reduced?
       9              A.        To the best of my recollection,
      10      a order, or it could be orders, were in fact
      11      reduced.
      12              Q.        And what you don't recall is
      13      whether Valley Drug was already a subject of
      14      review by the order monitoring committee when
      15      this issue came up or whether someone brought
      16      it to the attention of the order monitoring
      17      committee?
      18              A.        That is correct.
      19              Q.        That's what you mean by
      20      sequence; you don't know whether the
      21      conversation started?
      22              A.        As I've stated repeatedly, yes,
      23      that is correct, I don't know what came
      24      first.
      25              Q.        Do you recall if there was a

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       1      discussion among the committee members as to
       2      what would constitute size, frequency or
       3      pattern that would require Mr. Seid to reduce
       4      the supply to Valley Drug?
       5                        MR. HOFFMAN:       Object to the
       6              form.
       7                        THE WITNESS:       I don't -- I
       8              don't recall those details.
       9      QUESTIONS BY MS. CONROY:
      10              Q.        And that's the only instance
      11      you recall?
      12              A.        That's the only instance that I
      13      recall.
      14                        MS. CONROY:       For completeness,
      15              let me mark the notice as well since
      16              you put the objection in.
      17                        We have a copy of the notice,
      18              right?
      19                        Do we?
      20                        MS. HURD:      Oh, I don't know.
      21              Yeah, it's here.         Sorry.
      22                        MS. CONROY:       That will be
      23              Exhibit 11.
      24                        (Purdue-Geraci Exhibit 11
      25              marked for identification.)

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       1                        MS. CONROY:       And I don't have
       2              any further questions.            I just want to
       3              mark the exhibits.
       4                        THE WITNESS:       Okay.     Thank you.
       5                        MS. CONROY:       Thank you.
       6                        VIDEOGRAPHER:        Should we go off
       7              the record?
       8                        MR. HOFFMAN:       That's fine.
       9              Yeah, we can mark it off the record.
      10                        VIDEOGRAPHER:        Okay.     This
      11              marks the end of today's deposition.
      12              The time is 2:46 p.m.
      13           (Deposition concluded at 2:46 p.m.)
      14                           – – – – – – –
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       1                             CERTIFICATE
       2
       3                 I, CARRIE A. CAMPBELL, Registered
              Diplomate Reporter, Certified Realtime
       4      Reporter and Certified Shorthand Reporter, do
              hereby certify that prior to the commencement
       5      of the examination, Mark Geraci was duly
              sworn by me to testify to the truth, the
       6      whole truth and nothing but the truth.
       7                 I DO FURTHER CERTIFY that the
              foregoing is a verbatim transcript of the
       8      testimony as taken stenographically by and
              before me at the time, place and on the date
       9      hereinbefore set forth, to the best of my
              ability.
      10
                         I DO FURTHER CERTIFY that I am
      11      neither a relative nor employee nor attorney
              nor counsel of any of the parties to this
      12      action, and that I am neither a relative nor
              employee of such attorney or counsel, and
      13      that I am not financially interested in the
              action.
      14
      15
      16
                      _____________
                      ____________________________
                                  ______
      17              CARRIE A. CAMPBELL,
                      NCRA Registered Diplomate Reporter
      18              Certified Realtime Reporter
                      Notary Public
      19              Dated: April 9, 2019
      20
      21
      22
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      24
      25

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       1                     INSTRUCTIONS TO WITNESS
       2

       3                     Please read your deposition over
       4      carefully and make any necessary corrections.
       5      You should state the reason in the
       6      appropriate space on the errata sheet for any
       7      corrections that are made.
       8                     After doing so, please sign the
       9      errata sheet and date it.            You are signing
      10      same subject to the changes you have noted on
      11      the errata sheet, which will be attached to
      12      your deposition.
      13                     It is imperative that you return
      14      the original errata sheet to the deposing
      15      attorney within thirty (30) days of receipt
      16      of the deposition transcript by you.                 If you
      17      fail to do so, the deposition transcript may
      18      be deemed to be accurate and may be used in
      19      court.
      20

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       1                  ACKNOWLEDGMENT OF DEPONENT
       2
       3
       4                        I,______________________, do
              hereby certify that I have read the foregoing
       5      pages and that the same is a correct
              transcription of the answers given by me to
       6      the questions therein propounded, except for
              the corrections or changes in form or
       7      substance, if any, noted in the attached
              Errata Sheet.
       8
       9
      10
      11
      12      ________________________________________
              Mark Geraci                        DATE
      13
      14
      15      Subscribed and sworn to before me this
      16      _______ day of _______________, 20 _____.
      17      My commission expires: _______________
      18
      19      Notary Public
      20
      21
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       1                            – – – – – – –
                                          ERRATA
       2                            – – – – – – –
       3       PAGE      LINE    CHANGE/REASON
       4       ____      ____    _____________________________
       5       ____      ____    _____________________________
       6       ____      ____    _____________________________
       7       ____      ____    _____________________________
       8       ____      ____    _____________________________
       9       ____      ____    _____________________________
      10       ____      ____    _____________________________
      11       ____      ____    _____________________________
      12       ____      ____    _____________________________
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      24       ____      ____    _____________________________
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       1                            – – – – – – –
                                    LAWYER'S NOTES
       2                            – – – – – – –
       3       PAGE      LINE
       4       ____      ____    _____________________________
       5       ____      ____    _____________________________
       6       ____      ____    _____________________________
       7       ____      ____    _____________________________
       8       ____      ____    _____________________________
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